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 5 Attorneys for Plaintiff
   Sharon Tucker
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 7
                                    UNITED STATES DISTRICT COURT
 8
                              DISTRICT OF OREGON — EUGENE DIVISION
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10
     SHARON TUCKER                                          Federal Case No.: 6:18-cv-01088
11
                    Plaintiff,
12
             vs.                                            PLAINTIFF’S NOTICE OF VOLUNTARY
13                                                          DISMISSAL OF DEFENDANT BANK OF
     BANK OF AMERICA, N.A.,                                 AMERICA, N.A. AND DOES 1 – 100
14                                                          PURSUANT TO FEDERAL RULE OF
                    Defendant.                              CIVIL PROCEDURE 41(A)(1)
15

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17
     PLEASE TAKE NOTICE that Plaintiff Sharon Tucker, pursuant to Federal Rule of Civil
18
     Procedure 41(a)(1), hereby voluntarily dismisses Defendant Bank of America, N.A. and Does 1 –
19
     100 as to all claims in this action, with prejudice.
20
            Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
21
            41(a) Voluntary Dismissal
22
            (1) By the Plaintiff
23
                    (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any
24
                        applicable federal statute, the plaintiff may dismiss an action without a court
25
                        order by filing:
26
                         a notice of dismissal before the opposing party serves either an answer or a
27
                                 motion for summary judgment.
28          Defendant Bank of America, N.A. has neither answered Plaintiff’s Complaint, nor filed a

                                                            1
                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
        Case 6:18-cv-01088-MC       Document 5      Filed 08/21/18    Page 2 of 2




 1 motion for summary judgment. Accordingly, the matter may be dismissed against it for all

 2 purposes and without an Order of the Court.

 3

 4 Dated: August 21, 2018                              Sagaria Law, P.C.

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                                            By:          /s/ Kyle Schumacher
 6                                                              Kyle Schumacher
                                            Attorneys for Plaintiff
 7
                                            Sharon Tucker
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                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
